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                                                                 USDC SDNY
UNITED STATES DISTRICT COURT                                     DOCUMENT
SOUTHERN DISTRICT OF NEW YORK                                    ELECTRONICALLY FILED
UNITED STATES OF AMERICA,                                        DOC #: _________________
                                                                 DATE FILED: 12/14/2020

               -against-
                                                                           20 Cr. 412 (AT)

BRIAN KOLFAGE,                                                                 ORDER
STEPHEN BANNON,
ANDREW BADOLATO, and
TIMOTHY SHEA,

                       Defendants.
ANALISA TORRES, District Judge:

       Defendant Timothy Shea moves for an order transferring his case to the District of

Colorado. Non-parties, We Build the Wall, Inc. (“We Build the Wall”) and Kris Kobach, in his

individual capacity and as general counsel for We Build the Wall, move for an order (1)

modifying the sealed post-indictment restraining order issued on August 24, 2020, which

prohibits the transfer of certain funds involved in Defendants’ charged offenses, and (2)

unsealing certain documents. For the reasons stated below, both motions are DENIED.

                                        BACKGROUND

       On August 17, 2020, a grand jury returned a sealed indictment charging Defendants,

Brian Kolfage, Stephen Bannon, Andrew Badolato, and Timothy Shea, with conspiracy to

commit wire fraud, in violation of 18 U.S.C. § 1349, and conspiracy to commit money

laundering, in violation of 18 U.S.C. § 1956(h). Indictment, ECF No. 2. The indictment alleges

that Defendants fraudulently induced donors to contribute millions of dollars to an online

crowdfunding campaign known as We Build the Wall. The indictment further alleges that

Kolfage, Badolato, and Bannon made repeated false statements—on the crowdfunding website,

We Build the Wall’s website, and in social media, press releases, and donor solicitations—that
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money from the fundraising campaign would not be taken for Defendants’ personal use, and that

all funds would go to the campaign’s stated mission: building a wall along the southern border of

the United States. Id. ¶¶ 1, 9, 11–14. Despite these representations, Defendants allegedly took

hundreds of thousands of dollars for their own personal use. Id. ¶ 17. We Build the Wall raised

approximately $25,000,000. Id. ¶ 16.

         As to Shea, the indictment alleges that he conspired to transfer to Defendants the funds

raised by dint of the false statements. Id. ¶ 2. Shea, a Colorado resident, allegedly suggested via

text message to Defendants that he create a shell corporation to send money to himself and

Kolfage. Id. ¶ 20; Def. Mem. at 4. Consistent with this alleged proposal, Shea incorporated a

limited liability corporation, which We Build the Wall then paid for “social media” work that

was not performed. Indictment ¶ 21. These funds were then funneled to Shea and Kolfage. Id.

         The indictment further contemplates that if Defendants were convicted, they would have

to forfeit certain property involved in the alleged crimes under 18 U.S.C. § 981(a)(1)(c) and 28

U.S.C. § 2461(c). Indictment ¶¶ 34–35. The indictment was unsealed on August 20, 2020. ECF

No. 3.

         On August 24, 2020, the Court granted the Government’s ex parte application for a

sealed restraining order pursuant to 18 U.S.C. §§ 981, 982, 21 U.S.C. § 853, and 28 U.S.C.

§ 2461. The order restrains the transfer of funds into or out of three We Build the Wall bank

accounts (the “Restraining Order”). Restraining Order at 1–2. The Court found probable cause

to grant the Restraining Order because the Government’s application (the “Restraining Order

Application”) and the supporting affidavit of United States Postal Inspector Troy Pittenger (the

“Pittenger Affidavit”), both filed under seal, demonstrate that assets in the accounts “are subject

to restraint and forfeiture as proceeds of a conspiracy to commit wire fraud, in violation of Title




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18, United States Code, Section 1343, and/or property involved in money laundering, in

violation of Title 18, United States Code, § 1956.” Id. at 1. The Government then served the

Restraining Order on the banks that maintain the accounts. Gov’t Opp’n to Modification at 2,

ECF No. 42.

        Though the Government had previously advised We Build the Wall and Kobach of its

belief that the funds were subject to restraint and forfeiture, and though the Government had

served document requests on Kobach individually,1 the Government did not inform them that it

had obtained the Restraining Order until a month after it was issued. We Build the Wall Mot. at

6–9.

        On October 13, 2020, We Build the Wall and Kobach filed a motion under seal seeking

(1) an order modifying the Restraining Order to permit their access to funds that they claim are

not connected with the charged offenses, or, (2) in the alternative, a hearing on whether the

Restraining Order should be modified. Id. at 1. We Build the Wall and Kobach also moved to

unseal the portions of the Restraining Order Application and the Pittenger Affidavit relied on by

the Court, to the extent that such access could be granted pursuant to an appropriate protective

order. Id.; We Build the Wall Reply at 12 n.9, ECF No. 52. Separately, on November 5, 2020,

Shea moved to transfer his case to the United States District Court for the District of Colorado.

Def. Mot., ECF No. 44.




1
 The state of New Jersey has separately served document requests on We Build the Wall. We Build the Wall Mot.
at 7.


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                                              DISCUSSION

    I.      Motion to Transfer

         Shea argues that because he is a resident of Colorado and has no connections to the

Southern District of New York, his case should be transferred to the United States District Court

for the District of Colorado in the interest of justice. Def. Mot.; Def. Mem. at 1, ECF No. 45.

            A. Legal Standard

         “As a general rule a criminal prosecution should be retained in the original district.”

United States v. Parrilla, No. 13 Cr. 360, 2014 WL 1621487, at *13 (S.D.N.Y. Apr. 22, 2014)

(internal quotation marks and citation omitted), aff’d sub nom. United States v. Kirk Tang Yuk,

885 F.3d 57 (2d Cir. 2018). However, under Federal Rule of Criminal Procedure 21(b), “[u]pon

the defendant’s motion, the court may transfer the proceeding, or one or more counts, against

that defendant to another district for the convenience of the parties, any victim, and the

witnesses, and in the interest of justice.”

         To determine if transfer is proper, the Court considers the ten factors set forth in Platt v.

Minnesota Mining & Manufacturing Co.:

    (1) location of . . . defendant; (2) location of possible witnesses; (3) location of events likely
    to be in issue; (4) location of documents likely to be involved; (5) disruption of defendant’s
    business unless the case is transferred; (6) expense to the parties; (7) location of counsel; (8)
    relative accessibility of place of trial; (9) docket conditions of each district; and (10) any
    other special elements which might affect the transfer.

376 U.S. 240, 243–44 (1964). In addition, courts should consider the convenience of “any

victim.” United States v. Calk, No. 19 Cr. 366, 2020 WL 703391, at *2 (S.D.N.Y. Feb. 12,

2020). Courts “should not give any one factor preeminent weight nor should it assume that the

quantity of factors favoring one party outweighs the quality of factors in opposition.” United

States v. Spy Factory, Inc., 951 F. Supp. 450, 455 (S.D.N.Y. 1997). Rather, how the factors are




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weighed is committed to the sound discretion of the district court. United States v. Maldonado-

Rivera, 922 F.2d 934, 966 (2d Cir. 1990). Ultimately, the defendant carries the burden of

showing that “the interests of justice require transfer.” United States v. Estrada, 880 F. Supp. 2d

478, 482 (S.D.N.Y. 2012); see also United States v. Posner, 549 F. Supp. 475, 477 (S.D.N.Y.

1982) (“To warrant a transfer from the district where an indictment was properly returned it

should appear that a trial there would be so unduly burdensome that fairness requires the transfer

to another district of proper venue where a trial would be less burdensome.” (internal citation

omitted)).

             B. Application of the Platt Factors

                    1. Location of Defendant

       The first factor weighs somewhat in favor of transfer. Shea resides in Colorado, and his

family and business are located there. Def. Mem. at 8. However, a defendant’s residence “is

[neither] dispositive [n]or has independent significance in determining whether transfer is

warranted,” though it may be considered in reference to the other factors. United States v. Riley,

296 F.R.D. 272, 276 (S.D.N.Y. 2014) (citing Platt, 376 U.S. at 245); Maldando-Rivera, 922 F.2d

at 965. Nevertheless, absent countervailing concerns, the fact that Shea resides in Colorado

weighs in favor of transfer. See Spy Factory, 951 F. Supp. at 456.

                    2. Location of Possible Witnesses

       The second factor does not weigh in favor of transfer. To demonstrate that the location

of possible witnesses favors transfer, the defendant cannot use “naked allegation[s] that

witnesses will be inconvenienced by trial in a distant forum.” Riley, 296 F.R.D. at 276. Instead,

the defendant must “offer specific examples of witnesses’ testimony and their inability to testify




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because of the location of the trial” including “concrete demonstrations” of the proposed

testimony. Id.

       Shea states that he intends to call in his case-in-chief a number of character witnesses

from Colorado, and claims that “[t]raveling to the Southern District of New York will result in

the inconvenience of a number of people throughout the trial, particularly in light of the

difficulty of travel during the COVID-19 pandemic.” Def. Mem. at 9; Def. Reply at 3, ECF No.

54. Shea does not, however, identify the witnesses or their testimony, nor does he offer any

details as to why they cannot travel to New York other than that “their travel expenditures will

be costly and burdensome.” Id. This is insufficiently specific to demonstrate that this factor

weighs in favor of transfer, even at this early stage of the case. See United States v. Blakstad,

No. 19 Cr. 486, 2020 WL 5992347, at *4 (S.D.N.Y. Oct. 9, 2020) (finding this factor did not

weigh in favor of defendant where he “merely assert[ed] that his ‘witnesses are located in

Southern California,’ and that bringing them to Manhattan ‘can make their use impractical’”);

United States v. Avenatti, No. 19 Cr. 374, 2019 WL 4640232, at *3 (S.D.N.Y. Sept. 24, 2019)

(“[T]ransfer is unwarranted based on the mere possibility that unnamed, purported character

witnesses will be unable to testify because of the location of the trial.”). Moreover, government

funds are available to assist Shea with witness fees, allaying concerns regarding witnesses’ travel

expenses. See 28 U.S.C. § 1825.

       The Government has not finalized its trial witness list, but states that it will be calling

witnesses from across the country, including New York, but none from Colorado. Gov’t Opp’n

to Transfer at 7, ECF No. 45. The New York-based witnesses will include victims, whose

convenience the Court must consider as well. Id. at 7–8; Fed. R. Crim. P. 21(b) advisory




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committee’s note. The Government offers little information about its witnesses, which

counterbalances Shea’s similarly vague statements regarding his.

       Although Shea does suggest that COVID-19 would make travel more difficult, this fact

weighs “against holding any trial at all, rather than where to hold the trial.” Blakstad, 2020 WL

5992347, at *6 (emphasis in original). Witnesses will have to travel whether the trial is held in

Colorado or New York. Therefore, the pandemic does not alter the balance of this factor, and the

Court concludes that the location-of-witnesses factor is neutral.

                   3. Location of Events

       The factor of the location of the events is also neutral. The scheme, as alleged in the

indictment, was national in scale: the fraud was carried out throughout the country over the

internet, Defendants are residents of multiple states, and Defendants made communications to

and from different states in organizing the conspiracy. Gov’t Opp’n to Transfer at 9; see

generally Indictment. Shea first argues that because he did not travel to the Southern District of

New York, “his alleged involvement must logically be exclusively limited to activity that

occurred outside of the Southern District.” Def. Mem. at 9. However, in the age of digital

communication, this argument does not hold: even if Shea never physically entered New York, it

does not mean he cannot be connected to activity that took place here. Blakstad, 2020 WL

5992347, at *4 (finding the third factor neutral where the defendant did not work in New York,

but his co-conspirators had acted in Manhattan and “several calls, emails, and wire transfer

moved through Manhattan”).

       Shea next argues that the alleged conduct is unconnected to the Southern District of New

York, and the Government’s mere allegation of a “possibility of connection” to the Southern




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District is insufficient to link the events to this District.2 Def. Reply at 1–2 (emphasis omitted).

It is true that where a conspiracy has a “nerve center” located in the transferee district, this factor

can favor transfer to that center. United States v. Alter, 81 F.R.D. 524, 526 (S.D.N.Y. 1979)

(finding that the location of events favored transfer to an alternate forum where “[i]t is beyond

dispute that most, if not all, of the acts and conduct in furtherance of the alleged scheme to

defraud occurred in [the alternate venue] and that it was the ‘nerve center’ of the alleged illicit

operations in carrying on the scheme . . . .”). Shea, however, does not claim that Colorado is the

“nerve center” of the conspiracy, nor do the facts alleged in the indictment suggest that most of

the conspiratorial acts took place there. See generally Indictment.

         Rather, in cases of nationwide criminal activity without a nerve center, such as this one,

the location of the events does not favor either side. Spy Factory, 951 F. Supp. at 457. Though

aspects of the conspiracy took place outside of the Southern District of New York, the

Government states that there are victims of the conspiracy who are located in New York. Gov’t

Opp’n to Transfer at 7. This indicates that Defendants “intentionally projected their fraud

nationwide, including into this [d]istrict,” thus making this factor “not particularly persuasive”

for transfer. Estrada, 880 F. Supp. 2d at 483. Because of the country-wide scope, this factor

favors neither side.

                       4. Location of Documents

         The location of documents likely to be involved is also neutral. Shea states that any

documentary evidence must be located outside of New York, as he has never resided in New



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  Shea appears skeptical that venue is proper in the Southern District of New York. See, e.g., Def. Mem. at 9.
However, the motion is not a challenge to venue, Def. Mot., and Shea first raises a more explicit argument against
venue in this District in his reply brief, Def. Reply at 1–3. Therefore, despite Shea’s skepticism, the Court is not at
this time considering the venue issue. United States v. Martinez, 862 F.3d 223, 234 (2d Cir. 2017) (“[N]ew
arguments may not be made in a reply brief.”), cert. granted, judgment vacated on other grounds sub nom.
Rodriguez v. United States, 139 S. Ct. 2772 (2019).


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York. Def. Mem. at 10. He also alleges that evidence he will produce is located in Colorado,

though he does not identify any such evidence. Id. The Government, however, explains that as a

result of search warrants issued at the time of arrest, the “relevant physical evidence” is located

in this District, as is other evidence relied on in charging the case. Gov’t Opp’n to Transfer at

10. Where the evidence is located mainly in New York, but this was “voluntarily accomplished”

by the Government, this factor is neutral. Spy Factory, 951 F. Supp. at 458. Regardless, “[i]t is

well settled that given the conveniences of modern transportation and communication, the

location of the documents is a minor concern.” Estrada, 880 F. Supp. 2d at 484 (internal

quotation marks omitted).

                   5. Disruption to Defendant’s Business

       The factor concerning disruption to the defendant’s business does not weigh in favor

transfer. Shea states that as his business is “developing and growing in the local sector,” he must

“remain engaged and hands-on with all elements of his business,” and that “[a] start-up company

in its infancy will undoubtedly be disrupted if a trial were to take place in New York.” Def.

Mem. at 10. Shea does not explain, however, why the trial would cause more disruption if he

were in New York rather than in Colorado. “In either location a trial will disrupt [Shea’s] ability

to run his business” due to a trial’s all-consuming nature. Parrilla, 2014 WL 1621487, at *15.

Moreover, Shea has not demonstrated why remote technology, which is now all the more

common under pandemic circumstances, would not permit him to manage his business from afar.

See Spy Factory, 951 F. Supp. at 458 (finding the impact on defendants’ businesses was

minimized because “no defendant has shown why telephone and fax machine communication is

insufficient to maintain the minimal contact that would be available to any of them over a lunch




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hour or after-hours if the trial were moved”). Shea, therefore, has not met his burden to

demonstrate that this factor weighs in favor of transfer.

                   6. Expense to the Parties

       The sixth factor, expense to the parties, weighs in favor of transfer. Shea has proven that

he qualifies for assistance under the Criminal Justice Act (“CJA”), because his “net financial

resources and income are insufficient to obtain qualified counsel.” Judicial Conference of the

United States, 7 Guide to Judiciary Policy § 210.40.30(a); Gov’t Opp’n to Transfer at 13.

Although CJA funds are financing his defense, thus mitigating his costs, this does not completely

offset expenses related to, for instance, travel and lodging. In addition, Shea’s assets have been

frozen by the Government. Def. Reply at 2. In these situations, courts have suggested that the

cost to the defendant weighs in favor of transfer. See Spy Factory, 951 F. Supp. at 459.

       The Government has stated that were the case to be transferred, the New York-based

lawyers, witnesses, and experts, including three Assistant United States Attorneys, two

paralegals, several federal law enforcement agents, and computer forensic experts, would have to

relocate to Colorado for weeks. Gov’t Opp’n to Transfer at 13–14. Where the effect of a motion

to transfer is “merely to shift the economic burden to the government,” this factor generally

weighs against transfer. United States v. Canale, No. 14 Cr. 713, 2015 WL 3767147, at *4

(S.D.N.Y. June 17, 2015) (quoting United States v. Carey, 152 F. Supp. 2d 415, 422 (S.D.N.Y.

2001)). However, given Shea’s CJA status, and mindful that though the Government wishes to

minimize cost to the taxpayers, “the Government is in a better position than the Defendant[] to

bear such expenses,” this factor weighs in favor of transfer. Riley, 296 F.R.D. at 277.




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                   7. Location of Counsel

       The location of counsel weighs against transfer. Both Shea’s lawyer and the Government

attorneys are in New York. See Parrilla, 2014 WL 1621487, at *15. Shea alleges that the

distance between him and his attorney has undermined his ability to mount an effective defense.

Def. Mem. at 11. However, it is common for Defendants to have lawyers in other states, and the

geographic distance here does not weigh in favor of transfer. See Spy Factory, 951 F. Supp. at

460 (finding the location of counsel factor did not weigh in favor of transfer from New York to

Texas despite two out of three Texas-based defendants retaining New York attorneys). The

location of counsel factor, therefore, weighs against transfer.

                   8. Accessibility of Trial Location

       Shea does not dispute that New York is an accessible location. Def. Mem. at 11.

However, he argues that because of the location of his witnesses, Colorado would be more

accessible. Id. This simply rehashes the argument on factor two, and for the same reasons, this

factor does not weigh in favor of transfer.

                   9. Relative Docket Conditions

       The relative docket conditions weigh against transfer. Shea states that he “cannot opine

to the docket conditions of the Court.” Id. at 11. The Government, however, has noted that

based on the United States Court’s Federal Court Management Statistics for the year ending June

30, 2020, the District of Colorado had more civil and criminal felony filings per judge than the

Southern District of New York, and had completed slightly more trials per judge. Gov’t Opp’n

to Transfer at 14; Judicial Caseload Profile, Federal Judicial Center (June 30, 2020),

https://www.uscourts.gov/statistics/table/na/federal-court-management-statistics/2020/06/30-1.

Therefore, disparities in docket conditions do not weigh in favor of transfer.




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        Shea also argues that due to COVID-19, it is unclear when or how a trial would be held.

Def. Mem. at 11. However, this Court has already “made itself available, familiarized itself with

this case, and scheduled a trial date that is convenient for both parties.” Canale, 2015 WL

3767147, at *4. To be sure, the COVID-19 pandemic renders the trial date uncertain, but Shea

offers no evidence that he would get an earlier trial in Colorado, that COVID-19 conditions in

Colorado would not render any trial date there equally uncertain, or that transferring would not

result in “delays and duplication of judicial resources.” Id. This factor, therefore, weighs against

transfer.

                   10. Special Considerations

        Finally, the consideration of avoiding duplicative trials weighs strongly against transfer.

Shea is one of four defendants charged in the indictment, and the others have not joined his

motion to transfer. Transferring Shea’s case would, therefore, require severing the case against

him and conducting two trials on the same conspiracy, thus imposing a “double burden on the

judiciary.” Parrilla, 2014 WL 2200403, at *2. “There is a preference in the federal system for

joint trials of defendants who are indicted together.” Zafiro v. United States, 506 U.S. 534, 537

(1993). Severing and transferring a defendant “requires serious consideration of the

Government’s interest in avoiding duplicate trials” and, if done “without good reason,” is

“contrary to the interest of justice.” Parrilla, 2014 WL 2200403, at *2 (quoting United States v.

Valdes, No. 05 Cr. 156, 2006 WL 738403, at *10 (S.D.N.Y. Mar. 21, 2006) and United States v.

Thomas, No. 06 Cr. 365, 2006 WL 2283772, at *2 (S.D.N.Y. Aug. 6, 2006) (internal quotation

marks omitted)). Shea has not provided “good reason” for severance, which the Court concludes

is contrary to the interest of justice. See id. (finding severance as weighing against transfer given

that “the Court has already devoted significant resources to this case and set a trial date, and an




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additional trial . . . would be required.” (internal citations omitted)). This factor, therefore,

weighs heavily against severance and transfer of Shea’s case to Colorado.

          In sum, the location of the defendant and the expenses of the parties weigh in favor of

transfer, but the other factors are neutral or weigh against transfer, and the interest of avoiding

additional trials weighs heavily against transfer. Balancing these factors, the Court finds that

Shea has not carried his burden to show that transfer is warranted under Rule 21(b).

Accordingly, Shea’s motion to transfer is DENIED.

    II.      Motion to Modify the Restraining Order

          The Court construes the motion by We Build the Wall and Kobach as in effect requesting

to intervene in this case to object to the Restraining Order, on the ground that it encompasses

funds not subject to forfeiture. Because third parties are statutorily barred from intervention in a

criminal case to challenge a forfeiture order, the motion is DENIED.

             A. Legal Standard

          The criminal forfeiture proceedings in this case are governed by Federal Rule of Criminal

Procedure 32.2 and 21 U.S.C. § 853.3 See 28 U.S.C. § 2461(c). Though on its face § 853

applies only to controlled substances, the framework set forth in the section is applied to any

offense for which civil or criminal forfeiture of property is authorized, such as the crimes

charged in this case, by 28 U.S.C. § 2461(c).

          This Court issued the Restraining Order pursuant to 21 U.S.C. § 853. Restraining Order

at 1. Section 853(e) provides that:

                  Upon application of the United States, the court may enter a
                  restraining order or injunction . . . or take any other action to
                  preserve the availability of property described in subsection (a) for
                  forfeiture under this section—(A) upon the filing of an indictment

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 Section 853(d), which applies only in cases in which the defendant is convicted of a violation of the Controlled
Substances Act, does not apply here. 21 U.S.C. § 853(d); 28 U.S.C. § 2461(c).


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                  or information . . . . alleging that the property with respect to which
                  the order is sought would, in the event of conviction, be subject to
                  forfeiture under this section.

21 U.S.C. § 853(e).

         In sum, the foregoing statutory framework for criminal forfeiture provides that if, upon

the return of an indictment, the court finds probable cause that certain property would be subject

to forfeiture upon conviction, the court may enter a restraining order to preserve the availability

of that property. See 21 U.S.C. § 853(e)(1); Kaley v. United States, 571 U.S. 320, 323 (2014).

         Because such orders may impinge on the rights of third parties, the forfeiture framework

includes procedures for an ancillary, post-conviction proceeding where third parties can make

claims against forfeited property. 21 U.S.C. § 853(n). This § 853(n) ancillary proceeding takes

place with full notice to all interested parties, and includes the presentation of evidence and

witnesses. Id. However, outside of this ancillary proceeding, a claimant is not permitted to

intervene in a criminal case involving the forfeiture, or to initiate a lawsuit against the

government concerning the forfeiture, after an indictment has been returned. 21 U.S.C. §

853(k).4

         It is “well settled” that § 853(k) means that an § 853(n) ancillary proceeding is the

“exclusive avenue” for a third party to lay claim to forfeited assets. DSI Assocs. LLC v. United

States, 496 F.3d 175, 183 n.12 (2d Cir. 2007); see also United States v. Kozeny, No. 05 Cr. 518,

2011 WL 1672473, at *3 (S.D.N.Y. Apr. 29, 2011) (applying § 853(k)’s bar on intervention to a

third party seeking to challenge a post-indictment restraining order).


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  Section 853(k), entitled “[b]ar on intervention,” states: Except as provided in subsection (n) [i.e., through
ancillary proceedings], no party claiming an interest in property subject to forfeiture under this section may—(1)
intervene in a trial or appeal of a criminal case involving the forfeiture of such property under this section; or (2)
commence an action at law or equity against the United States concerning the validity of his alleged interest in the
property subsequent to the filing of an indictment or information alleging that the property is subject to forfeiture
under this action. 21 U.S.C. § 853(k).



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        We Build the Wall and Kobach argue that the § 853(k) bar on intervention does not apply

for four reasons: (1) § 853 does not apply to pre-conviction forfeiture; (2) they only seek

modification regarding untainted (and thus, non-forfeitable) assets, to which § 853 does not

apply; (3) notwithstanding § 853(k), Federal Rule of Criminal Procedure 41(g) permits them to

challenge the forfeiture; and (4) notwithstanding § 853(k), due process requires a hearing before

such forfeiture. For the reasons stated below, these arguments are unavailing.

            B. Application of 21 U.S.C. § 853 to Pre-Conviction Forfeiture Proceedings

        Section 853 applies “to all stages of a criminal forfeiture proceeding.” 28 U.S.C.

§ 2461(c). Courts regularly interpret the § 853 framework to apply pre-conviction. See, e.g.,

United States v. Dupree, 781 F. Supp. 2d 115, 129 (E.D.N.Y. 2011).

        Congressional action after United States v. Razmilovic, 419 F.3d 134 (2d Cir. 2005),

drives home this point. In Razmilovic, the Second Circuit held that an earlier version of 28

U.S.C § 2641(c) applied the § 853 framework only to post-conviction forfeiture. Id. at 136–37.

The Second Circuit based this holding on the language of § 2461(c), which at that time stated

that “upon conviction, the court shall order the forfeiture of the property in accordance with the

procedures set forth in 21 U.S.C. § 853.” Id. (emphasis added and alterations adopted). In 2006,

Congress, at least in part in response to Razmilovic, amended § 2461(c) to strike the words “upon

conviction,” and to specify that “[t]he procedures in [§ 853] apply to all stages of a criminal

forfeiture proceeding.” 28 U.S.C. § 2461(c) (emphasis added); see United States v. Mann, 140

F. Supp. 3d 513, 527, 530 (E.D.N.C. 2015). This amendment makes clear that Congress rejected

the holding of Razmilovic. See United States v. Schlotzhauer, No. 06 Cr. 00091-0103, 2008 WL

320717, at *9 (W.D. Mo. Feb. 4, 2008) (“It appears that Congress has clarified its intent that

section 2461(c) authorizes the pretrial restraint of assets.”).




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        Courts have, therefore, interpreted the amended § 2461(c) for the “unremarkable

proposition” that § 2461(c) permits pretrial restraints on property through § 853. Mann, 140 F.

Supp. 3d at 528; see also United States v. Capoccia, No. 03 Cr. 35, 2011 WL 1930677, at *5 (D.

Vt. May 19, 2011).

        This Court too interprets the plain language of amended § 2461(c) to apply § 853’s

framework to all stages of a criminal forfeiture proceeding, including the post-indictment, pre-

conviction phase. Therefore, the § 853(k) bar on intervention applies here.5

             C. Challenge to the Forfeitability of Assets

        We Build the Wall and Kobach argue that they merely assert their rights over assets that

fall outside the scope of Defendants’ alleged offenses, to which § 853 does not apply, and not

over properly forfeitable assets. We Build the Wall Reply at 11. In other words, they seek to

challenge the forfeitability of certain assets covered by the Restraining Order.

        Second Circuit precedent forecloses such arguments. See United States v. Watts, 786

F.3d 152, 175 (2d Cir. 2015); DSI Associates LLC, 496 F.3d at 181–185. In Watts, the Second

Circuit considered a third party’s argument about the forfeitability of certain assets under § 853.

786 F.3d at 175. The court reasoned first that, “[w]e have consistently interpreted § 853(k) to

mean that an ancillary proceeding under § 853(n) is ‘the only avenue for a post-indictment third-

party claim to forfeited property’ under the criminal forfeiture statute.” Id. (emphasis in original)

(citing De Almeida v. United States, 459 F.3d 377, 381 (2d Cir. 2006)). The court then held that

§ 853(n) does not authorize challenges to a forfeiture based on “the forfeitability of a defendant’s


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  We Build the Wall and Kobach argue that they do not seek to intervene in the trial, and only seek to modify the
Restraining Order. We Build the Wall Reply at 11–12. However, like other courts, this Court construes this
challenge to the Restraining Order, an order issued under § 853, as a request for intervention under § 853(k). See
Kozeny, 2011 WL 1672473, at *3 (finding § 853(k) bars pretrial intervention in a criminal case to challenge a post-
indictment restraining order); United States v. Rogers, No. 09 Cr. 441, 2010 WL 1872855, at *5 (N.D. Ga. Apr. 12,
2010), report and recommendation adopted, No. 09 Cr. 441, 2010 WL 1872858 (N.D. Ga. May 7, 2010) (collecting
cases).


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property by interested third parties,” and affirmed the district court’s rejection of that argument.

Id. at 175–76; see also United States v. Egan, 654 F. App’x 520, 522 n.2 (2d Cir. 2016); Fed. R.

Crim. P. 32.2 Advisory Committee Note (“Th[e ancillary] proceeding does not involve

relitigation of the forfeitability of the property; its only purpose is to determine whether any third

party has a legal interest in the forfeited property.”).

        Here, We Build the Wall and Kobach effectively claim ownership over the funds, and

argue that such funds are untouched by Defendants’ alleged conspiracy. But, as Watts and DSI

Associates LLC make clear, a third party can only intervene to challenge a finding of probable

cause that assets are subject to forfeiture in a § 853(n) proceeding. We Build the Wall and

Kobach are, therefore, barred by § 853(k) from intervening on the ground that there was no

probable cause to restrain certain assets.

            D. Federal Rule of Criminal Procedure 41(g)

        We Build the Wall and Kobach also argue that their motion can be interpreted as a

motion under Federal Rule of Criminal Procedure 41(g), and is, therefore, permissible despite

§ 853(k)’s bar on intervention. “Rule 41(g) permits a person aggrieved by the government’s

unlawful seizure or deprivation of property to move for specific relief: the property’s return.”

Adeleke v. United States, 355 F.3d 144, 149 (2d Cir. 2004). “[W]here no criminal proceedings

against the movant are pending or have transpired, a motion for the return of property is treated

as a civil equitable proceeding.” Mora v. United States, 955 F.2d 156, 158 (2d Cir. 1992)

(internal quotation marks, citation, and alterations omitted). Rule 41(g) is an equitable remedy

“available only when there is no adequate remedy at law and the equities favor the exercise of

jurisdiction,” and, therefore, “[j]urisdiction under Rule 41 is to be exercised with great restraint

and caution.” De Almeida, 459 F.3d at 382 (internal quotation marks and citation omitted).




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       However, a Rule 41(g) motion brought after an indictment is clearly barred by § 853(k).

Chaim v. United States, 692 F. Supp. 2d 461, 470 (D.N.J. 2010) (“[O]nce there is an indictment

with a forfeiture allegation, an innocent third party . . . cannot then commence a Rule 41(g)

proceeding.” (emphasis in original)). A Rule 41(g) motion brought post-indictment can be read

either as a bid to intervene in a criminal case or as an action “concerning the validity of [a third

party’s] interest in property” brought “subsequent to the filing of an indictment . . . alleging that

the property is subject to forfeiture under [§ 853]”—both of which are barred by § 853(k). 21

U.S.C. § 853(k); Rogers, 2010 WL 1872855, at *4; see also United States v. White, No. 13 Cr.

0436, 2014 WL 3898378, at *4 (D. Md. Aug. 7, 2014); United States v. Huggins, No. 13 Cr. 155,

2013 WL 1728269, at *2 (S.D.N.Y. Mar. 22, 2013), report and recommendation adopted, No. 13

Cr. 155, 2013 WL 1736466 (S.D.N.Y. Apr. 11, 2013) (finding that because the third party filed

their Rule 41(g) motion slightly before the indictment, the third party “is not necessarily limited

to a section 853(n) proceeding—as it plainly would be had its motion been filed slightly later.”).

Although the Second Circuit left open the possibility that a Rule 41(g) motion filed pre-

indictment would be permissible, it has not spoken to a Rule 41(g) motion filed post-indictment.

De Almeida, 459 F.3d at 383 (affirming a district court’s denial of a Rule 41(g) motion filed pre-

indictment because § 853(n) afforded an adequate remedy at law).

       The indictment in this case was returned on August 17, 2020, approximately two months

before We Build the Wall and Kobach brought their motion. Therefore, even if We Build the

Wall and Kobach’s motion were styled as a Rule 41(g) motion, Section 853(k) bars that motion.

           E. Due Process

       Finally, We Build the Wall and Kobach argue that their Fifth Amendment due process

rights were violated by the seizure of their property without a proper hearing, either before or




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after seizure. We Build the Wall Mot. at 12–13; We Build the Wall Reply at 9.6

         Although the Supreme Court has made clear that pretrial hearings on forfeiture may be

required when the forfeiture order is challenged by a criminal defendant, particularly where their

Sixth Amendment right to counsel is implicated, the law concerning the rights of third parties is

less clear. See Kaley, 571 U.S. at 324; Monsanto, 924 F.2d at 1193–98. However, courts have

generally determined that § 853(n) proceedings provide sufficient due process to third parties.

For instance, the Fourth Circuit in United States v. McHan, 345 F.3d 262, 269 (4th Cir. 2003),

considered the third parties’ argument that they should be afforded a hearing before, or soon

after, a preliminary order of forfeiture. The court noted that this argument was “a challenge to

the statutory scheme,” which effectively contended that “due process required that they, as third

parties, be given an opportunity to interject themselves into the sentencing phase of the criminal

case.” Id. The Fourth Circuit rejected this argument, holding that “it was Congress’s clear

intention in passing § 853(n) that third parties have an opportunity to be heard and to be awarded

relief if they were to show a cognizable interest in the property preliminarily ordered forfeited”

and so “§ 853(n) provides all of the process due.” Id. at 270; see also Libretti v. United States,

516 U.S. 29, 44 (1995) (denying the argument that a § 853(n) proceeding “is inadequate to

safeguard third-party rights” because “Congress has determined that § 853(n) . . . provides the

means by which third-party rights must be vindicated”); Kozeny, 2011 WL 1672473, at *5

(finding due process did not require an early hearing on a post-indictment restraining order); cf.



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  Contrary to We Build the Wall and Kobach’s argument, the relevant portion of § 853 does not require a hearing
before issuing a post-indictment restraining order. Unlike § 853(e)(1)(B), which governs the issuance of restraining
orders pre-indictment, § 853(e)(1)(A), which governs restraining orders issued post-indictment, does not include a
requirement for notice and hearing. 21 U.S.C. § 853(e)(1); Kaley, 571 U.S. at 324 n.2 (noting that, as opposed to
§ 853(e)(1)(A), “[t]he forfeiture statute itself requires a hearing when the Government seeks to restrain the assets of
someone who has not yet been indicted.”). “[B]ecause of the exigent circumstances presented, notice and a hearing
need not occur before an ex parte restraining order is entered pursuant to section 853(e)(1)(A).” United States v.
Monsanto, 924 F.2d 1186, 1193 (2d Cir. 1991), abrogated on other grounds by Kaley, 571 U.S. 320.


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United States v. Daugerdas, 892 F.3d 545, 557 (2d Cir. 2018) (finding that the due process

violation was cured where the third party had a right to replead a § 853(n) petition to assert her

interest in the forfeited funds); DSI Assocs. LLC, 496 F.3d at 186–187 (holding that a third party

did not have standing for a § 853(n) proceeding after conducting a due process analysis).

       Moreover, even if the Court were to apply the test laid out in Mathews v. Eldridge, 424

U.S. 319 (1976), to determine the amount of process due, it would not grant We Build the Wall

or Kobach a hearing before the § 853(n) proceeding. Mathews requires courts to weigh:

       First, the private interest that will be affected by the official action; second, the risk of an
       erroneous deprivation of such interest through the procedures used, and the probable
       value, if any, of additional or substitute procedural safeguards; and finally, the
       Government’s interest, including the function involved and the fiscal and administrative
       burdens that the additional or substitute procedural requirement would entail.

424 U.S. at 335. Because We Build the Wall and Kobach will be afforded a hearing under

§ 853(n) after trial, their true contention is that due process requires they have a hearing sooner

rather than later. Not so.

       First, regarding the private interest, the Second Circuit has concluded that criminal

defendants have a strong private interest in pretrial hearings on forfeiture orders when the order

impedes their Sixth Amendment right to counsel. See United States v. Cosme, 796 F.3d 226, 232

(2d Cir. 2015). However, it has not held that other constitutional rights give rise to other

similarly strong private interests for criminal defendants, let alone the interests of third-party

claimants. Id. at 233 n.2 (noting that “several sister circuits have indicated that a pretrial, post-

deprivation adversarial hearing is not required absent Sixth Amendment concerns”). We Build

the Wall and Kobach allege interests in their ability to use their money in furtherance of their

mission and to pay Kris Kobach’s legal fees with respect to the Government’s document

requests, We Build the Wall Reply at 9, but those interests are less weighty—and less time




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sensitive—than a criminal defendant’s Sixth Amendment right to counsel. Cosme, 796 F.3d at

233; see also United States v. Jones, 160 F.3d 641, 647 (10th Cir. 1998) (“Due process does not

automatically require a [post-restraint, pretrial] hearing and a defendant may not simply ask for

one. As a preliminary matter, a defendant must demonstrate to the court’s satisfaction that she

has no assets, other than those restrained, with which to retain private counsel and provide for

herself and her family.”). Moreover, the Restraining Order does not prevent We Build the Wall

from utilizing funds obtained after the Restraining Order issued. Gov’t Resp. at 3. This

additional source of funding lessens the immediate interest of We Build the Wall.

       Second, there is little value to an additional hearing. In issuing the Restraining Order,

this Court has already concluded that the Government demonstrated probable cause. Restraining

Order at 1. This determination will be tested at trial, and in the § 853(n) proceeding. We Build

the Wall and Kobach offer no explanation as to how a hearing conducted now would better guard

against an erroneous deprivation of property, as opposed to a hearing conducted with the benefit

of completed discovery and jury-made findings of fact. See Sunrise Acad. v. United States, 791

F. Supp. 2d 200, 206 (D.D.C. 2011) (“The only added benefit of a pretrial hearing would be an

earlier, but preliminary, determination.”).

       Third, the Government’s interest in avoiding additional third-party, pretrial proceedings

is strong. Allowing such litigation would endanger Defendants’ rights to a speedy trial, as it

could prevent the Government from turning its focus to trial. Id. In drafting § 853, Congress

observed that a pretrial hearing

       would require the government to prove the merits of the underlying criminal case and
       forfeiture counts and put on its witnesses well in advance of trial . . . such requirements
       can make obtaining a restraining order—the sole means available to the government to
       assure the availability of assets after conviction—quite difficult . . . [Such] requirements
       m[ight] make pursuing a restraining order inadvisable from the prosecutor’s point of view




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          because of the potential for damaging premature disclosure of the government’s case and
          trial strategy. . .

Id. at 207 (quoting S. Rep. No. 98-225 (1984)).

          The interests of the Government may be outweighed by a criminal defendant’s right to

counsel. See Monsanto, 924 F.2d at 1193–98. But where, as here, a third party requests access

to funds before a statutorily mandated hearing, “the interests of the government, the public, and

the criminal defendant in a fair and orderly trial on the merits of the criminal indictment must

take precedence over the petitioners’ desire for earlier adjudication of their claims.” Sunrise

Acad., 791 F. Supp. 2d at 207. The Court concludes, therefore, that § 853(n) provides We Build

the Wall and Kobach with due process.

          Therefore, We Build the Wall and Kobach’s motion to modify the Restraining Order, or

for a hearing, is DENIED.

   III.      Motion to Unseal

          We Build the Wall and Kobach also request that the Restraining Order Application and

the Pittenger Affidavit supporting the Restraining Order be unsealed, to the extent that they be

“given access (subject to an appropriate protective order) to those portions of the sealed ex parte

submissions that purport to support probable cause that all donations to We Build the Wall are

the proceeds of crime.” We Build the Wall Reply at 11–12, 12 n.9.

          It is well-established that motions to intervene to “assert the public’s First Amendment

right of access to criminal proceedings” are appropriate. United States v. Aref, 533 F.3d 72, 81

(2d Cir. 2008). However, We Build the Wall and Kobach are not asserting the public’s right of

access; they state that their request is not for “the equivalent of blanket unsealing and public

filing of the entirety of the ex parte documents.” We Build the Wall Reply at 12. We Build the

Wall and Kobach instead rely on the principle that the court should “safeguard party access to



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the evidence tendered in support of a requested court judgment.” We Build the Wall Mot. at 23–

24 (emphasis added) (quoting Abourezk v. Reagan, 785 F.2d 1043, 1060-61 (D.C. Cir. 1986),

aff’d, 484 U.S. 1 (1987)). But neither We Build the Wall nor Kobach is a party to this case. The

Restraining Order Application and the Pittenger Affidavit will be provided to Defendants, the

proper parties. Gov’t Opp’n to Modification at 14. And, in connection with the § 853(n)

proceeding, discovery will be conducted so that We Build the Wall and Kobach may obtain the

requisite information, if such information has not already been disclosed at trial. We Build the

Wall and Kobach’s argument in favor of access is, therefore, unavailing.

       The Government has consented to unsealing the Restraining Order. Gov’t Opp’n to

Modification at 15. It was issued under seal to prevent dissipation of the funds before service on

the relevant financial institutions was effected. Restraining Order at 9. That concern is no

longer present. Therefore, the Restraining Order shall be unsealed and filed on the public

docket. In addition, as We Build the Wall and Kobach’s motion was filed under seal because of

its reference to the then-sealed Restraining Order, see Oct. 13, 2020 Order, We Build the Wall

and Kobach’s motion and its accompanying documents, ECF No. 38, shall also be unsealed.

       However, the Government requests that the Restraining Order Application and the

Pittenger Affidavit remain under seal. Gov’t Opp’n to Modification at 15. The Court concludes

that continued sealing is warranted.

       When deciding whether judicial documents should remain under seal, the Court must

weigh the presumption of public access afforded judicial documents against the other interests

implicated by disclosing the documents. United States v. Amodeo, 71 F.3d 1044, 1050 (2d Cir.

1995). One is the potential adverse effect on law enforcement interests. Id. The Restraining

Order Application and the Pittenger Affidavit provide more details regarding the Government’s




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investigation than is contained in the indictment or is publicly known, including the full scope

and nature of the investigation, the identities of individuals and entities who may be implicated,

and further details about the evidence collected thus far. Gov’t Opp’n to Modification at 15.

This information, if disclosed, could hamper the investigation. Where an investigation is

“ongoing,” and the sealed document identifies subjects and the extent of the investigation,

“[c]ompelling reasons exist to maintain the secrecy of the Government’s investigation.” United

States v. Park, 619 F. Supp. 2d 89, 94 (S.D.N.Y. 2009).

       Moreover, disclosure would implicate the privacy interests of uncharged individuals and

entities, who were not named in the indictment but are named in the Restraining Order

Application and the Pittenger Affidavit. Amodeo, 71 F.3d at 1050. This interest may be of

particular concern in a case such as this, which is the subject of pretrial publicity. In addition,

there is no prejudice to Defendants if the Restraining Order Application and the Pittenger

Affidavit remain under seal, as Defendants have access to the documents.

       Accordingly, We Build the Wall and Kobach’s request to unseal the Restraining Order

Application and the Pittenger Affidavit is DENIED.




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                                       CONCLUSION

       For the reasons stated above, Shea’s motion to transfer is DENIED. We Build the Wall

and Kobach’s motion to intervene and to unseal the Restraining Order Application and the

Pittenger Affidavit is DENIED. The Restraining Order shall be UNSEALED.

       The Clerk of Court is directed to unseal: (1) the Restraining Order and (2) We Build the

Wall’s motion, ECF No. 38. The Clerk of Court is further directed to terminate the motions at

ECF Nos. 38 and 44.

       SO ORDERED.

Dated: December 14, 2020
       New York, New York




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